                                                                                                     2-22-02022-PRW



                                         CERTIFICATE OF SERVICE

       I, Gini L. Downing              (name), certify that service of this summons and a copy of
the complaint was made February 4,2022          (date) by:

^ Mail service: Regular, first class United States mail, postage fiilly pre-paid, addressed to:
 Lasership
 P.O. Box 901700
 Cleveland, OH 44190-1700

 Lasership
 Attn: Brett Bissell, CEO
 1912 Woodford Road
 Vienna, VA 22182

 Lasership, Inc.
 Attn: Troy Cahill, General Counsel
 1912 Woodford Road
 Vienna, VA 22182


^Certified Mail Service: By sending the process by certified mail addressed to the following entities/officers/registered agents
ofthe defendant at:
 Lasership, Inc.
 Attn: Mark Holifield, CEO
 1912 Woodford Road
 Vienna, VA 22182

 Corporation Service Company,
 R/A for Lasership, Inc.
 251 Little Falls Drive
 Wilmington, DE 19808

        I further certify that I am,and at all times during the service of process was, not less than 18 years
of age and not a party to the matter concerning which service of process was made.

          Under penalty of perjury, I declare that the foregoing is true and correct.

Date         February 4,2022             Signature /s/ Gini L. Downing

                   Print Name:                         Gini L. Downing
                                                       Pachulski Stang Ziehl & Jones LLP
                                                       10100 Santa Monica Blvd.
                                                        13^'^ Floor
                   Business Address:                   Los Angeles, CA 90067




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   DOCS LA:342086.1 75015/003
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                 Description: Main Document , Page 2 of 2
